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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

  HOWARD LANGFORD,                         )         Case No. ______________
                                           )
                Plaintiff,                 )
                                           )
         vs.                               )      NOTICE OF REMOVAL WITH
                                           )      JURY TRIAL REQUESTED IN
  FATHER FLANAGAN’S BOYS’                  )         OMAHA, NEBRASKA
  HOME,                                    )
                                           )
                Defendant.                 )


                               NOTICE OF REMOVAL

       TO THE HONORABLE JUDGES OF THE UNITED STATES
  DISTRICT COURT FOR THE DISTRICT OF NEBRASKA:

          Defendant Father Flanagan’s Boys’ Home hereby gives notice of removal
  of this action to the United States District Court for the District of Nebraska,
  pursuant to 28 U.S.C. §§ 1331, 1367, 1441 and 1446. As grounds for this
  removal, Defendant states as follows:

                              FACTUAL BACKGROUND

          1.     On or about December 5, 2022, Plaintiff filed his Complaint
  against Defendant in the District Court of Douglas County, Nebraska, with Civil
  Summons issued by the District Court of Douglas County the following day. A
  Process Service Return was filed with the Court on December 13, 2022,
  documenting service upon Defendant Father Flanagan’s Boys’ Home by personal
  service on December 13, 2022.
          2.     As required by 28 U.S.C. § 1446(a), attached hereto collectively as
  “Exhibit A” and incorporated herein by this reference are copies of the
  Complaint, Praecipe, and Summons, served upon Defendant which constitute all
  of the process, pleadings, and orders served upon Defendant in this case to date.
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  Attached hereto collectively as “Exhibit B” and incorporated herein by this
  reference is a copy of the Process Service Return dated December 13, 2022.
          3.      In his Complaint, Plaintiff purports to assert claims related to
  alleged violations of the Civil Rights Act of 1964, the Civil Rights Act of 1866,
  the Civil Rights Act of 1991, and the Nebraska Fair Employment Practices Act.
  Plaintiff seeks damages against Defendant.

                       THIS COURT HAS SUBJECT MATTER
                      JURISDICTION UNDER §§ 1331 AND 1367

          4.      This case is properly removable because the Complaint could have
  originally been filed in this Court pursuant to 28 U.S.C. § 1331, as it alleges
  questions of federal law. Specifically, Plaintiff alleges claims for relief pursuant
  to the Civil Rights Act of 1964, the Civil Rights Act of 1866, and the Civil Rights
  Act of 1991.
          5.      This remainder of this case is properly removable pursuant to 28
  U.S.C. § 1367, because the alleged state-law claims arising under the Nebraska
  Fair Employment Practices Act arise from the same case or controversy as those
  allegedly arising under the Civil Rights Act of 1964, the Civil Rights Act of 1866,
  and the Civil Rights Act of 1991.
          6.      Defendant is located in Boys Town, Nebraska, which is in the
  jurisdiction of Douglas County, Nebraska.
          7.      Plaintiff is a resident of Douglas County, Nebraska.

     A.      Removal to This District Is Proper

         8.      Pursuant to the provisions of 28 U.S.C. § 1441(a), the United
  States District Court for the District of Nebraska is the federal district court
  embracing the place where the state court action is currently pending.

     B.      The Petition for Removal Is Timely

          9.     This Notice is timely filed within thirty (30) days of service of
  Plaintiff's Complaint on Defendant, pursuant to 28 U.S.C. §1446(b). Plaintiff’s
  Complaint was filed on December 5, 2022 and summons was issued on December
  6, 2022. Defendant was then served with the Complaint on December 13, 2022.
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  Not more than 30 days have elapsed since Defendant was served with the
  Complaint.

     C.      Notice of Petition of Removal

           10.    Defendant will promptly provide Plaintiff with written notice of
  the filing of this Notice of Removal, and will promptly file a copy of this Notice
  with the Clerk of the District Court of Douglas County, Nebraska.

     D.          Reservation of Rights

          11.    To the fullest extent allowed by law, Defendant reserves all rights,
  including defenses, and objections to this action, including defenses and
  objections as to the appropriate forum, jurisdiction, and service. The filing of this
  notice of removal is subject to and does not waive any such defenses and
  objections. Defendant further reserves the right to amend or supplement this
  notice of removal.

                        JURY REQUEST AND PLACE OF TRIAL

           12.     Defendant requests that this action be tried by jury, and that the
  trial be held in Omaha, Nebraska.

          WHEREFORE, Defendant, having removed the case now pending in the
  District Court of Douglas County, Nebraska, No. CI 22-9327, respectfully
  requests that this case proceed with adjudication before this Honorable Court as
  though Plaintiff had originally filed it in this Court.



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                                       FATHER FLANAGAN’S BOYS’ HOME,
                                       Defendant

                                       By:     Baylor Evnen Wolfe & Tannehill,
                                               LLP
                                               Union Bank Place
                                               1248 O St., Ste. 900
                                               Lincoln, NE 68508-1499
                                               (402) 475-1075
                                               cschmidt@baylorevnen.com
                                               sfoster@baylorevnen.com

                                       By:     /s/ Christopher M. Schmidt
                                               Christopher M. Schmidt, # 26096
                                               Susan M. Foster # 24192

                             CERTIFICATE OF SERVICE

          I, Christopher M. Schmidt, hereby do certify that I am one of the attorneys
  of record for the Defendant and that on the 12th day of January 2023, I served a
  copy of the foregoing Notice of Removal (with all Exhibits) by postage-paid,
  regular United States mail on:

         Howard L. Langford
         6653 Curtis Ave.
         Omaha, NE 68104

                                       By:     /s/ Christopher M. Schmidt
                                               Christopher M. Schmidt, # 26096
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Image ID:
D00830220D01                                                       Doc. No.    830220

                 IN THE DISTRICT COURT OF Douglas COUNTY, NEBRASKA
                        1701 Farnam
                        Omaha              NE 68183



Howard L Langford v. Father Flanagan's Boys Home
                                                              Case ID: CI 22    9327


TO:    Father Flanagan's Boys Home




You have been sued by the following plaintiff(s):

       Howard L Langford




Plaintiff:                    Howard L Langford
Address:                      6653 Curtis Avenue
                              Omaha, NE 68104

Telephone:                    (402) 706-5708

A copy of the complaint/petition is attached. To defend this lawsuit, an
appropriate response must be served on the parties and filed with the office of
the clerk of the court within 30 days of service of the complaint/petition. If
you fail to respond, the court may enter judgment for the relief demanded in the
complaint/petition.

Nebraska Supreme Court Rule 2-208 requires individuals involved in a case who
are not attorneys and representing themselves to provide their email address to
the court in order to receive notice by email from the court about the case.
Complete and return the attached form to the court if representing yourself.


Date:    DECEMBER   6, 2022       BY THE COURT:
                                                      Clerk




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                                        EXHIBIT A
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Image ID:
D00830220D01                                                      Doc. No.   830220

PLAINTIFF'S DIRECTIONS FOR SERVICE OF SUMMONS AND A COPY OF THE
COMPLAINT/PETITION ON:

         Father Flanagan's Boys Home
         CSC Lawyers Inc Service
         233 South 13th Street Suite 1900
         Lincoln, NE 68508

BY: Lancaster County Sheriff
Method of service: Personal Service

You are directed to make such service within twenty days after date of issue,
and show proof of service as provided by law.




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                                                                         Doc. No.   830220

                                   Douglas District Court
                             1701 Farnam
                             Omaha              NE 68183

    To: Lancaster County Sheriff
    Case ID: CI 22    9327 Langford v. Father Flanagan's Boys Home




To: Father Flanagan's Boys Home               From: Howard L Langford
    CSC Lawyers Inc Service                         6653 Curtis Avenue
    233 South 13th Street Suite 1900                Omaha, NE 68104
    Lincoln, NE 68508




                                           EXHIBIT A
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                                                                 in Douglas District Court
                                                                          *** EFILED ***
                                                                 Case Number: D01CI220009327
                    LANCASTER COUNTY SHERIFF’S OFFICE              Transaction ID: 0019262221
                         Lincoln, Nebraska 68508            Filing Date: 12/13/2022 10:00:00 PM CST
                          Process Service Return
    Of Sheriff’s Paper # 213935 to DOUGLAS County DISTRICT Court
Document No: 830220                 Case No: CI22 9327
_______________________________________________________________________
Received           Returned         Service and Return $ 18.00
12/13/2022         12/13/2022       Copy
_________________________________ Mileage                    .66
Type of Process                     Miscellaneous
         SUMMONS                         Total Fees      $ 18.66
Copy of COMPLAINT
                                    Paid by LANGFORD/HOWARD
                                    Attorney Code
                                    Witness Fee Paid     $
                                    Clerk Fee Paid       $
=======================================================================
Plaintiff                           Defendant
LANGFORD, HOWARD L                  FATHER FLANAGANS BOY
=======================================================================

   Party Served: FATHER FLANAGANS BOYS HOME
                 233 S 13TH ST STE 1900     LINCOLN NE
By leaving with: DEBRA LARSEN/RECEPTIONIST
                 CSC LAWYERS INC SERVICE
   Service Type: PERSONAL
   Service Date: 12/13/2022 , 1233   By: D GUTHARD
--------------------------------------------------------------------------------




   I hereby certify that at the time and in the manner herein stated, I
served the within writ, together with copies shown, on the herein named
party(s) a true and certified copy thereof with all endorsements there
on, or returned said writ unserved in the prescribed manner.
   All done in Lancaster County, Nebraska, as required by law.

                                          TERRY T. WAGNER, Sheriff
                                       By /s/DENNIS GUTHARD

                                      EXHIBIT B
